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                                                                           Hearing set for 9:00 AM
                                                                           Hearing started at 9:40 AM
                                                                           Hearing ended at 2:53 PM


                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF PUERTO RICO


MINUTES OF PROCEEDINGS:

HONORABLE FRANCISCO A. BESOSA, SENIOR U.S. DISTRICT JUDGE

COURTROOM DEPUTY: Migdalia Garcia-Cosme                      Date: January 25, 2024
Court Reporter: Robin Dispenzieri                            Case No. 12-cv-02039 (FAB)
Court Interpreter: Sonia Crescioni; Commonwealth’s Contracted Interpreter: Mayra Cardona


UNITED STATES OF AMERICA
        Plaintiff,
v.

COMMONWEALTH OF PUERTO RICO, et al.
    Defendants.


The case was called for a Status Conference in Courtroom 5, Old San Juan, as ordered
at ECF No. 2546 (morning session) and ECF No. 2545 (afternoon session).

The following persons were present at the conference:
   1. Marsha de Jesus – Substituting the Deputy Chief Counsel from the Office of the
       Governor
   2. Enrique Völckers – Deputy Chief of Staff for Innovation and Technology, Office of the
       Governor
   3. Hecrián Martínez – Chief Counsel, Office of Management and Budget (“OMB”)
   4. Zulma Canales – Director of Fiscal Compliance, Office of Management and Budget
       (“OMB”)
   5. Alberto Carrero – substituting for “Analyst” on Public Safety Matters, Financial
       Oversight and Management Board (“FOMB”)
   6. Antonio Ramos, substituting for the Acting Information and Innovation Officer (“CIIO”)
       & Chief Technology Officer (“CTO”) of Puerto Rico Innovation and Technology
       Service (“PRITS”)
   7. Edgardo González – Assistant Administrator for Service to the Agencies, General
       Services Administration (“GSA”)
   8. Gustavo Cartagena – Deputy Director, Office for the Administration and
       Transformation of Human Resources (“OATHR”)


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    9. Hon. Alexis Torres – Secretary, Department of Public Safety (“DPS”)
    10. Arturo Garffer – Deputy Secretary for Operations and Intelligence, Department of
        Public Safety (“DPS”)
    11. Juan Carlos Puig – Consultant and former Treasury Secretary, Department of Public
        Safety (“DPS”)
    12. Martin Reyes- substituting for Special Advisor, Federal Affairs Office, Department of
        Public Safety (“DPS”)
    13. José Díaz – Executive Director, Federal Affairs Office, Department of Public Safety
        (“DPS”)
    14. Antonio López-Figueroa – Commissioner, Puerto Rico Police Bureau (“PRPB”)
    15. Colonel Rolando Trinidad – Office of the Reform, Puerto Rico Police Bureau
        (“PRPB”)
    16. Counsel Juan Carlos Rivera – IT Bureau Director, Puerto Rico Police Bureau
        (“PRPB”)
    17. Ángel Díaz – IT Bureau Deputy Director, Puerto Rico Police Bureau (“PRPB”)
    18. Gabriel Peñagarícano, Counsel for the Commonwealth of Puerto Rico
    19. Rafael Barreto, Counsel for the Commonwealth of Puerto Rico
    20. Luis Saucedo, Counsel for the United States Department of Justice
    21. Jorge Castillo, Counsel for the United States Department of Justice
    22. John Romero – Chief Federal Police Monitor, Federal Monitor’s Office
    23. Denise Rodríguez – Chief Deputy Police Monitor, Federal Monitor’s Office
    24. Roberto Abesada – General Counsel, Federal Monitor’s Office
    25. Luis Hidalgo - Associate Monitor, Federal Monitor’s Office
    26. Javier González - Administrative Director, Federal Monitor’s Office
    27. Scott P. Cragg - Federal Monitor, Federal Monitor’s Office
    28. Merangelie Serrano - Federal Monitor, Federal Monitor’s Office
    29. Rafael Ruiz - Federal Monitor, Federal Monitor’s Office
    30. Al Youngs - Federal Monitor, Federal Monitor’s Office
    31. Rita Watkins - Federal Monitor, Federal Monitor’s Office
    32. Donald Gosselin - Federal Monitor, Federal Monitor’s Office
    33. Stephanie León - Research Assistant, Federal Monitor’s Office
    34. Ben Horowithz, - Representative of AH Datalytics
    35. Rebeca Osakwe - Representative of AH Datalytics
    36. Dr. Alejandro del Carmen – Special Master, Office of the Special Master
    37. Gary Loeffert – Assistant Special Master, Office of the Special Master
    38. Gilberto Balli – Assistant Special Master, Office of the Special Master
    39. Thomas Petrowski – Assistant Special Master, Office of the Special Master

The following matters were discussed at the status conference:

Overview of the Monitor’s Office CMR-9 Report: Mr. John Romero, Chief Federal Police
Monitor compared CMR9 and CMR7 and in the reports, and informed that the Puerto Rico
Police Bureau (“PRPB”) has demonstrated increased levels in compliance and provided
details of each paragraph. Counsel Peñagarícano focused on the substantial compliance as
the biggest changes achieved.

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                 a. Professionalization: Colonel Trinidad explained the efforts made with
                    universities, and incentives proposed for retention of staff along with
                    recruitment plans, promotions, and exams review. Arguments from counsel
                    Saucedo and counsel Peñagarícano were heard.
                 b. Use of Force: The monitor mentioned the considerable progress achieved
                    but had concerns as to the commissioner’s ability to complete evaluations
                    on time. The status of the early intervention system (EIS) was discussed,
                    and expansion to other regions has continued of the Crisis Intervention
                    Teams.
                 c. Searches and Seizures: Internal Controls and Accountability: The
                    monitor found meaningful progress in this area with the supervisor’s
                    guidance. The issues of storage, property and evidence rooms were also
                    discussed.
                 d. Equal Protection and Non-Discrimination: Victim Center Practice was
                    explained by Ms. Rita Watkins. The monitor explained that the National
                    Incident Base Reporting System needs to be accurate to contribute in
                    addressing hate crimes, gender violence, etc. The “NIBRS” reporting
                    system was also discussed and the efforts to comply with it. Colonel
                    Trinidad mentioned initiatives to review policies and procedures.
                 e. Recruitment, Selection and Hiring: Was discussed with the
                    Professionalization section.
                 f. Policies and Procedures: The monitor informed that 51 policies and
                    manuals were developed. Colonel Trinidad informed constant
                    communication between the Monitor’s office, the PRPB Commissioner,
                    and Special Master to create a policy and a module.
                 g. Training: Although training plans have fallen behind, the Puerto Rico
                    Police Bureau (“PRPB”) has been making progress in this area.
                 h. Supervision and Management: An initiative of visiting NYPD to observe
                    their system was discussed.
                 i. Civilian Complaints, Internal Investigations, and Discipline: Counsel
                    Castillo stressed his concern on the delays in adjudicating misconduct
                    complaints. Colonel Trinidad informed of the recruitment of attorneys made
                    to address the backlog.
                 j. Community Engagement and Public Information: Monitor Romero
                    mentioned the significant improvement achieved.
                 k. Information Systems and Technology: Monitor Romero mentioned
                    some IT systems running up, but mentioned some arears that require
                    attention, such as an IT correction plan, recruitment of IT personnel,
                    verification of data accuracy, etc. The EMLARS (Money Laundering and
                    Asset Recovery Section) program was also discussed.

The morning session concluded at 12:47 PM, and the afternoon session began at 2:28 PM.
During the afternoon session, the specific responsible persons (points of contact) and their
back-ups in charge of the specific tasks for the compliance areas in the Compliance Plan
were present:


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Col. Rolando Trinidad                          Sgt. José Morales
Col. Juan Rodríguez                            Sgt. Mary Ortiz
Col. Juan Cáceres                              Sgt. Thayra Negrón
Col. Roberto Rivera                            Sgt. José Carballo
Col. José Ramírez                              Sgt. Heriberto Díaz
Col. Carlos Cruz                               Sgt. Luis Huertas
Lt. Col. Eliezer Colón                         Agt. Ervin Zayas
Lt. Col. Iris Colón                            Agt. Félix Colón
Lt. Col. Wilson Lebrón                         Agt. Omar Marrero
Lt. Col. Ángel Viera                           Agt. José De Jesús
Insp. Jesús Cruz                               Agt. Luis Meléndez
Insp. Moisés Colón                             Dr. Juan Centeno
Insp. José Ortíz                               Dr. Juan Carlos Rivera
Insp. Ricardo Haddock                          Atty. Esthermarie Torres
Cpt. Alexander Acevedo                         Rosángela Rosario
Lt. Julio De Jesús                             Michelle Moure
Lt. Eliud Álvarez                              Angélica Rodríguez
Lt. Aymée Alvarado                             Alba Sanjurjo
Lt. Simara Torres                              Jéssica Nieves
Lt. José D. Sánchez                            Ángel Díaz Camareno
Lt. Jaime Cosme                                Caonabo Vicente
Lt. Nilsa Morales                              Alberto Pérez
Lt. Edgardo Lugo                               Antonio Ramos, PRITS
Lt. Jojanie Mulero                             Ben Horwitz, AH-Datalytics
Lt. Eric Marrero                               Rob Castigilia, Gartner
Sgt. Elsie Casillas                            Javier Haynes, C2S
Sgt. Axel Valencia                             José Jaime, Codecom
Sgt. José Santiago                             Lydia Toledo, Claro
Sgt. Pablo González                            Ángel Mena, Intelusion


At the beginning, counsel Peñagarícano, counsel Saucedo, Monitor Romero, and Dr. Del
Carmen were heard. The Court addressed them all, mentioning that the number of non-
compliant paragraphs in the consent decree was reduced to 57, and the importance of each
of the responsible persons completing the assigned tasks. The Court emphasized the
importance on moving the reform forward as a team and encouraged them to make any
suggestions as needed.



                                                      S/ Migdalia Garcia-Cosme
                                                      Courtroom Deputy Clerk




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